                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

                                                     *
B.N.S., A MINOR CHILD BY HER PARENTS
AND NEXT FRIENDS CHRISTINE AND                       *
BRIAN STEWART.,
                                                     *
       PLAINTIFF,
                                                     *
       v.                                                Case No. 17-cv-02670-ELH
                                                     *
VICTOR BRITO, CHIEF OF POLICE,
HAGERSTOWN POLICE DEPARTMENT,                        *
ET AL.,
                                                     *
        DEFENDANTS.
                            *   *    *     *   *    *     *
                            DEFENDANTS’ MOTION TO DISMISS
                      OR, ALTERNATIVELY, FOR SUMMARY JUDGMENT

       Victor Brito, in his official capacity as Police Chief of the Hagerstown Police, the

Hagerstown City Police Department, P.O Eichelberger, Sgt. Constable, Officer Rowe, Bob Bruchey,

in his official capacity as Mayor of the City of Hagerstown, the City of Hagerstown, and in their

official capacities as City Council Members of the City of Hagerstown, Kristin B. Aleshire, Paul

Corderman, Emily Keller, Lewis Metzner, and Donald Munson, Defendants, by their undersigned

counsel, pursuant to Federal Rules of Civil Procedure 12(b) and 56, move to dismiss the Complaint

against them, with prejudice, or alternatively, for summary judgment, and, for reasons, state that the

Complaint fails to state any viable claim for relief upon which can be granted, there is no genuine

dispute as to any material fact, and Defendants are entitled to judgment as a matter of law.

       The grounds and authorities in support of this Motion are set forth fully in the accompanying

Memorandum, which is hereby incorporated fully and adopted by reference.




                                                 1
                                                   _________/s/____________
                                                   John F. Breads, Jr.
                                                   Federal Bar No. 01343
                                                   jbreads@lgit.org


                                                   _________/s/____________
                                                   Matthew D. Peter
                                                   Federal Bar No. 26351
                                                   mpeter@lgit.org
                                                   7225 Parkway Drive
                                                   Hanover, Maryland 21076
                                                   Office - 443-561-1700
                                                   Facsimile - 443-561-1701

                                                   (Counsel for Defendants)



                                  CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 21st day of December 2017 a copy of the foregoing

Motion to Dismiss or, Alternatively, for Summary Judgment, was filed electronically and served

electronically upon counsel of record.



                                                   __________/s/___________
                                                   Matthew D. Peter




                                              2
